       Case 2:12-cv-00859-LMA-MBN Document 1309 Filed 07/30/20 Page 1 of 3




                                    UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF LOUISIANA


LASHAWN JONES, ET AL.                                                          CIVIL ACTION

VERSUS                                                                         NUMBER: 12-0859

MARLIN N. GUSMAN, ET AL.                                                       SECTION: “I”(5)

                                                     ORDER

          The Court has received and reviewed the memoranda filed by the Compliance

Director (rec. doc. 1301), the Plaintiffs (rec. doc. 1304), and the Sheriff (rec. doc. 1305) in

opposition to the City of New Orleans’ (“the City’s”) Motion for Relief from Court Orders of

January 25, 2019 and March 18, 2019. (Rec. doc. 1281).

          No later than August 12, 2020, the City shall file a memorandum in reply to these

three opposition memoranda. Motions for leave to file the reply memorandum and/or to

exceed the page limit imposed by the local rules need not be filed, as leave to do both is

granted by this Order. No sur-reply memoranda shall be filed.

          In its reply memorandum, the City shall, at a minimum, directly address the following

issues/questions raised in the various opposition memoranda 1:

      (1) Does the City agree that the Stipulated Order signed by the Parties (rec. doc. 1082)

          obligates it to use FEMA funds designated to replace the Templeman II facility

          “exclusively for implementation of the plan [for] (1) appropriate housing for

          prisoners with mental health issues and medical needs, (2) addressing the housing

          needs of youthful offenders, and (3) addressing the current conditions of the ‘Docks’

          facility?” (Id.).


1   To be clear, the City is not limited to addressing only these issues in its reply memorandum.
 Case 2:12-cv-00859-LMA-MBN Document 1309 Filed 07/30/20 Page 2 of 3




(2) If the City does not agree with that proposition, it should explain in detail why.

(3) What is the amount of Templeman II FEMA funds that remain available to build

   “appropriate housing for prisoners with mental health issues and medical needs?”

   (Id.).

(4) How did the City arrive at the figure of $36.1 million it claims is available to be applied

   to construction of the Special Needs Facility, as stated in its “Response to Court Order

   Dated 1/25/19?” (Rec. doc. 1222).

(5) Prior to filing its “Response to Court Order Dated 1/25/19 (Id.), did the City ever seek

   FEMA’s approval or otherwise vet with FEMA that agency’s willingness to allow the

   City and OPSO to proceed with any of its proposals to renovate TDC and/or OJC as a

   long-term and durable solution to housing inmates with mental health issues and

   medical needs? If so, when did that occur and what was FEMA’s response?

(6) Does the City agree with the Compliance Director (and Mr. Gaffney) that an additional

   $4 million in FEMA funds are available for use in constructing Phase III if the City

   enters into a cooperative endeavor agreement with OPSO concerning the Central

   Plant?

(7) To what extent, if any, did the City consult with or otherwise involve Plaintiffs’

   counsel and the monitors in the design for the temporary use of TDC for housing for

   prisoners with mental health issues and medical needs?

(8) What specific, durable solution, if any, for the appropriate housing for prisoners with

   mental health issues and medical needs is the City suggesting it be permitted to

   pursue in lieu of the promised construction of the Special Needs Facility?
    Case 2:12-cv-00859-LMA-MBN Document 1309 Filed 07/30/20 Page 3 of 3




   (9) To the extent the City proposes any specific, durable solution(s) as described above,

      has FEMA been consulted on its position on such solution(s) since February 25, 2019

      and, if so, what was that agency’s response?

   Responses to these questions should be supported by an affidavit signed by an individual

with personal knowledge of the truth of those responses.

      New Orleans, Louisiana, this 29th day of               July            , 2020.




                                                           MICHAEL B. NORTH
                                                     UNITED STATES MAGISTRATE JUDGE
